Case 1: 04- -C\/- -01161- .]DT- STA Document 16 Filed 05/25/05 Page 1 of 3 PW?|/)D}/ 26

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IN THE UNITED sTATEs DlsTRICT CoURT 054,¢¢? n
FoR THE wESTERN DISTRlCT oF TENNESSEE 3 M "'
EASTERN DIVISION ’ é?.» 05
)
MICHELE leER, )
)
Plaintiff, )
) No. 1-04-1161-JDT»sta
v. ) JUDGE ToDD
) MAGISTRATE ANDERSON
FIRST sTATE BANK, )
)
Defendant. )

 

ORDER

 

Defendant First State Bank having moved the Court to extend the deadline for filing
dispositive motions in this action to Friday, May 27, 2005, and Plaintiff Michelle Siler having no
opposition to this proposed extension, and the Court having concluded that this extension will
not affect the Scheduled trial date in this action,

The deadline for filing dispositive motions in this action is hereby extended to Friday,

May 27, 2005.

IT IS SO ORDERED.
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JUDGE J:*cM-E'S-T-‘FOBD

 

Thls document entered on the docket sheet ln compliance
with Flule 58 and,-'or_'ls (a) FRCP on

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Submitted by:

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This notice confirms a copy of the document docketed as number 16 in
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Honorable .1 ames Todd
US DISTRICT COURT

